         Case 2:22-cv-00806-WSH Document 1-1 Filed 05/31/22 Page 1 of 33




                          EXHIBIT “A”




28857773v.1
            Case 2:22-cv-00806-WSH Document 1-1 Filed 05/31/22 Page 2 of 33



  IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA


JENNIFER GILLESPIE and               BRIAN   CIVIL DIVISION
GILLESPIE, wife and husband,
                                             CASE NO.: GD 21-001852
                       Plaintiffs,

      vs.

SOFREGEN MEDICAL, INC.;                      JURY TRIAL DEMANDED
ALLERGAN, INC.; and ABBVIE, INC.,
successor-in-interest to ALLERGAN, INC.,     TYPE OF PLEADING:
                                             COMPLAINT IN CIVIL ACTION
                      Defendants.

                                             FILED ON BEHALF OF:
                                             PLAINTIFFS, JENNIFER
                                             GILLESPIE and BRIAN GILLESPIE



TO:   DEFENDANTS                             COUNSEL OF RECORD FOR
                                             THIS PARTY:
You are hereby notified to file a written
response to the within Complaint in Civil    MARK F. McKENNA, ESQUIRE
Action within Twenty (20) days of service    PA I.D. # 30297
hereof or judgment may be entered
against you.


McKENNA & ASSOCIATES, P.C.                   McKENNA & ASSOCIATES, P.C.
                                             436 Boulevard of the Allies
                                             Suite 500
                                             Pittsburgh, PA 15219
      MARK F. McKENNA, ESQUIRE               mfin@mckennaandassociates.com
      Attorneys for Plaintiffs
                                             412-471-6226 - phone
                                             412-471-6658 - facsimile
             Case 2:22-cv-00806-WSH Document 1-1 Filed 05/31/22 Page 3 of 33



              IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY,
                                 PENNSYLVANIA

JENNIFER    GILLESPIE and            BRIAN          a
                                                            CIVIL DIVISION
GILLESPIE, wife and husband,

                       Plaintiffs,
                                                            CASE NO: GD 21-001852
       vs.                                          )
                                                    )
SOFREGEN MEDICAL, INC.;                             )
ALLERGAN, INC.; and ABBVIE, INC.,                   )       JURY TRIAL DEMANDED
successor-in-interest to ALLERGAN, INC.,            )
                       Defendants.                  ?




                                      NOTICE TO DEFEND

         YOU HAVE BEEN SUED IN COURT. If you wish to defend against the claims set
 forth in the following pages, you must take action within TWENTY (20) DAYS after this
 Complaint and notice are served, by entering a written appearance personally or by attorney
 and filing in writing with the Court your defenses or objections to the claims set forth against
 you. You are warned that if you fail to do so, the case may proceed without you, and a
 judgment may be entered against you by the Court without further notice for any money
 claimed in the Complaint or for any claim or relief requested by the plaintiff. You may lose
 money or property or other rights important to you.

       YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO
 NOT HAVE A LAWYER, [OR CANNOT AFFORD ONE] GO TO OR TELEPHONE THE
 OFFICE SET FORTH BELOW [TO FIND OUT WHERE YOU CAN GET LEGAL HELP].
 THIS OFFICE CAN PROVIDE YOU WITH INFORMATION ABOUT HIRING ALAWYER.

      IF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY BE
 ABLE TO PROVIDE YOU WITH INFORMATION ABOUT AGENCIES THAT MAY
 OFFER LEGAL SERVICES TO ELIGIBLE PERSONS AT A REDUCED FEE OR NO
 FEE.

                                 LAWYER REFERRAL SERVICE
                                 Allegheny County Bar Association
                                        400 Koppers Building
                                         436 Seventh Avenue
                                         Pittsburgh, PA 15219
                                      Telephone: (412) 261-5555
                               https://www.getapittsburghlawyer.com/
             Case 2:22-cv-00806-WSH Document 1-1 Filed 05/31/22 Page 4 of 33




                               COMPLAINT IN CIVIL ACTION

       AND NOW, come Plaintiffs, Jennifer Gillespie and Brian Gillespie, by and through their

attorneys, McKENNA & ASSOCIATES, P.C., and file the following Complaint in Civil Action

against the Defendants, Sofregen Medical, Inc., Allergan, Inc., and Abbvie, Inc., successor-in-

interest to Allergan, Inc., upon causes of action of which the following is a statement:

        1.       Plaintiff, Jennifer Gillespie, is an adult individual who resides at 1271 Redfern

Drive, Pittsburgh, Allegheny County, Pennsylvania 15241.

       2.        Plaintiff, Brian Gillespie, is an adult individual who, at all times relevant hereto

was the spouse of Plaintiff Jennifer Gillespie and who resided with her at 1271 Redfern Drive,

Pittsburgh, Allegheny County, Pennsylvania 15241. (Plaintiff Jennifer Gillespie is sometimes

hereinafter referred to as “Plaintiff-Wife”, Plaintiff Brian Gillespie is sometimes hereinafter

referred to as “Plaintiff-Husband” and Plaintiffs Jennifer Gillespie and Brian Gillespie are

sometimes referred to collectively as “Plaintiffs”).

       3.        Defendant, Sofregen Medical, Inc. (hereinafter referred to as “Defendant

Sofregen”), is a Delaware corporation with a principal place of business located at 175 Crossing

Boulevard, Framington, Massachusetts 07102.

       4.        Defendant Sofregen is currently and has at all times relevant hereto been engaged

in the practice of designing, manufacturing, testing, marketing, assembling, inspecting, selling,

supplying, distributing for sale and use, and/or making available for sale, distribution and use silk-

derived biological scaffold including but not limited to the Seri Surgical Scaffold.

        5.       Defendant Sofregen regularly conducts business in the Commonwealth of

Pennsylvania, including Allegheny County, Pennsylvania.



                                                   1
             Case 2:22-cv-00806-WSH Document 1-1 Filed 05/31/22 Page 5 of 33




        6.       At all times relevant to the matters complained of within this Complaint, Defendant

Sofregen was acting through its agents, ostensible agents, servants and/or employees, namely its

engineers, designers, physicians, physicians’ assistants, nurses, nurses’ assistants, researchers

and/or technicians, each of whom was acting within the course of their respective employment and

within the scope of their respective authority.

       7.        Defendant, Allergan, Inc. (hereinafter referred to as “Defendant Allergan”), is a

Delaware corporation with a principal place of business located at 2525 Dupont Drive, Irvine,

California, 92612.

       8.        Defendant Allergan is currently and has at all times relevant hereto been engaged

in the practice of designing, manufacturing, testing, marketing, assembling, inspecting, selling,

supplying, distributing for sale and use, and/or making available for sale, distribution and use silk-

derived biological scaffold including but not limited to the Seri Surgical Scaffold.

       9.       Defendant Allergan regularly conducts business in the Commonwealth of

Pennsylvania, including Allegheny County, Pennsylvania.

        10.     At all times relevant to the matters complained of within this Complaint, Defendant

Allergan was acting through its agents, ostensible agents, servants and/or employees, namely its

engineers, designers, physicians, physicians’ assistants, nurses, nurses’ assistants, researchers

and/or technicians, each of whom was acting within the course of their respective employment and

within the scope of their respective authority.

        11.      Defendant, Abbvie, Inc. (hereinafter referred to as “Defendant Abbvie”), is a

Delaware corporation with a principal place of business located 1 N. Waukegan Road, North

Chicago, Illinois 60045.


                                                  2
          Case 2:22-cv-00806-WSH Document 1-1 Filed 05/31/22 Page 6 of 33




        12.    Defendant Abbvie is a successor-in-interest to Defendant Allergan.

        13.    Defendant Abbvie regularly conducts business in the Commonwealth of

Pennsylvania, including Allegheny County, Pennsylvania.

        14.    Defendant Abbvie is currently and has at all times relevant hereto been engaged in

the practice of designing, manufacturing, testing, marketing, assembling, inspecting, selling,

supplying, distributing for sale and use, and/or making available for sale, distribution and use silk-

derived biological scaffold including but not limited to the Seri Surgical Scaffold.

        15.    At all times relevant to the matters complained of within this Complaint, Defendant

Abbvie was acting through its agents, ostensible agents, servants and/or employees, namely its

engineers, designers, physicians, physicians’ assistants, nurses, nurses’ assistants, researchers

and/or technicians, each of whom was acting within the course of their respective employment and

within the scope of their respective authority.

        16.    Alternatively, Defendant Abbvie acquired/assumed the liability of Defendant

Allergan, including all liability asserted with the Seri Surgical Scaffold of line of silk-derived

biological scaffold.

                                  FACTUAL BACKGROUND

        17.    Defendant Sofregen, Defendant Allergan and Defendant Abbvie (hereinafter

collectively referred to as the “Defendants”) individually and/or jointly participated in the design,

manufacture, assembly, inspection, testing, approval, marketing, selling, supplying, distribution

for sale and/or offering for sale and/or distribution of the Seri Surgical Scaffold.

        18.    On May 19, 2015, Plaintiff-Wife underwent a bilateral implant revision with Seri

Surgical Scaffold, internal bra support and implant exchange, which procedure was performed by


                                                  3
            Case 2:22-cv-00806-WSH Document 1-1 Filed 05/31/22 Page 7 of 33




Simona Pautler, M.D. at St. Clair Hospital due to complications from Plaintiff-Wife’s April 16,

2012 bilateral breast augmentation with bilateral mastopexies surgery.

        19.     During the procedure, the internal support of implants was performed using 10 cm.

x 25 cm. Seri Surgical Scaffold as an internal bra support.

       20.      It is believed and there averred that Draft Seri Surgical Scaffold Lot# P 13091601A

was used.

       21.      In August 2015, approximately four (4) months after her surgery, Plaintiff-Wife

started experiencing sharp burning pain and discomfort under her left breast.

       22.      Plaintiff-Wife also developed swollen lymph nodes in her right side, acne on her

neck and face, hives, pain in ribs and clavicle, and occasion low grade fevers.

       23.      On May 29, 2015, the FDA issued a warning letter to Defendant Allergen that the

Seri Surgical Scaffold was being promoted for unintended use as the device was not cleared or

approved for use in breast reconstruction using a tissue expander or implant. (A copy of May 29,

2015 Warning Letter is attached hereto as Exhibit A.)

       24.      Plaintiff-Wife was not contacted by Defendants or others so advised of the May 29,

2015 action by the FDA by any source, including her surgeon.

       25.      Approximately four (4) years after her surgery, and due to ongoing complaints of

pain, discomfort and pulling sensation in Plaintiff-Wife chest area, ribs and clavicle, Dr. Pautler

advised Plaintiff-Wife of a recall on the Seri Surgical Scaffold.

       26.      On May 13, 2020, Plaintiff-Wife saw Kevin Cross, M.D., who recommended

immediate removal of Seri Surgical Scaffold and implants.

       27.      On May 26, 2020, Plaintiff-Wife underwent breast pathology testing which


                                                 4
          Case 2:22-cv-00806-WSH Document 1-1 Filed 05/31/22 Page 8 of 33




revealed fibro-membranous tissue with reactive changes and underlying skeletal muscle consistent

with capsule, nodular proliferation of nerve fiber bundles consistent with traumatic neuroma.

       28.     On May 26,2020, Plaintiff-Wife underwent bilateral implant removal with bilateral

breast lift and fat grafting to the breasts, which procedure was performed by Dr. Cross.

       29.     In January 2021, Plaintiff-Wife has been diagnosed with Smoldering Myeloma.

                                        COUNT I
                                   STRICT LIABILITY
                         PLAINTIFFS v. SOFREGEN MEDICAL, INC.

       30.     Plaintiffs incorporate by reference hereto the allegations set forth with paragraphs

1 through 29, inclusive, as though the same were set forth more fully herein at length.

       31.     At all times relevant hereto, Defendant Sofregen designed, developed, tested,

assembled, manufactured, packaged, labeled, prepared for distribution, distributed, marketed,

supplied and/or sold the Seri Surgical Scaffold either directly and/or indirectly to healthcare

providers, hospitals, physicians and medical care recipients, including Plaintiff-Wife.

       32.     Defendant Sofregen, directly and through its officers, directors and its agents,

ostensible agents, servants and/or employees, including Defendant Allergan and Defendant

Abbvie, who were acting within the scope of their authority, servitude, workmanship and/or

employment described herein, is strictly liable and/or vicariously liable in some or all of the

following particulars:

               a.        The Seri Surgical Scaffold was defective in its design;

               b.        The Seri Surgical Scaffold was defective in its construction and
                         manufacture;

               c.        The Seri Surgical Scaffold was not designed or constructed with the
                         proper material or in the proper manner for breast surgery
                         application;


                                                   5
          Case 2:22-cv-00806-WSH Document 1-1 Filed 05/31/22 Page 9 of 33




               d.        The Seri Surgical Scaffold was not accompanied by adequate
                         warnings and instructions in regard to its application in breast
                         reconstruction procedures;

               e.        In failing to provide healthcare providers, including St. Clair
                         Hospital and Simona Pautler, M.D. with adequate instruction,
                         direction and/or warning regarding the use of the Seri Surgical
                         Scaffold in Plaintiff-Wife’s bilateral breast augmentation with
                         bilateral mastopexies surgery;

               f         In failing to warn and/or adequately warn physicians and Plaintiff-
                         Wife of any and all dangers and risks involved with the use of the
                         Seri Surgical Scaffold; and

               g.        In failing to warn and/or adequately warn physicians and Plaintiff-
                         Wife that use of the Seri Surgical Scaffold in breast reconstruction
                         was an unintended and unapproved use of this device.

       33.     Defendant Sofregen, directly and through its officers, directors and its agents,

ostensible agents, servants and/or employees, including Defendant Allergan and Defendant

Abb vie, who were acting within the scope of their authority, servitude, workmanship and/or

employment described herein, is strictly liable and/or vicariously liable in some or all of the

following particulars:

               a.        That with respect to the Seri Surgical Scaffold Defendant Sofregen
                         misrepresented material facts to the public, including    Plaintiff-
                         Wife, St. Clair Hospital and Dr. Pautler, the plastic surgeon,
                         concerning the character, quality and authorized/approved use of the
                         device;

               b.        That Plaintiff-Wife and Dr. Pautler, the implanting surgeon,
                         justifiably relied on such misrepresentations; and

               c.        That such justified reliance caused Plaintiff-Wife to suffer physical
                         harm.

       34.     As a direct and proximate result of the conduct of Defendant Sofregen, as set forth

more fully within this Complaint, Plaintiff-Wife sustained the following damages and injuries,

some of which may be permanent:

                                                   6
        Case 2:22-cv-00806-WSH Document 1-1 Filed 05/31/22 Page 10 of 33




              a.      Seri Surgical Scaffold removal;

              b.      Breast implant removal with complete capsulectomy;

              c.      Infection from complete capsulectomy, which delayed healing process;

              d.      Breast implant illness;

              e.      Pain, discomfort and pulling sensation in her chest area;

              f.      Pain and pulling sensation in her ribs and clavicle;

              g.      Swollen lymph nodes in her right side;

              h.     Acne on her neck and face;

              i.      Hives;

              j.     Fatigue;

              k.     Malaise;

              l.      Severe scarring;

              m.      Occasional low grade fevers;

              n.     Traumatic neuroma;

              o.      Smoldering Myeloma; and

              p.     Anxiety and depression.

       35.    As a result of her injuries, Plaintiff-Wife has suffered and will continue to suffer

some or all of the following damages:

              a.      Medical expenses for services and supplies incident to the treatment
                      of her injuries, both past and future;

              b.      Medical expenses for hospital admissions, surgeries, treatment and
                      therapies, both past and future;

              c.      Impairment of her general health, strength and vitality;

              d.      Past and future pain and suffering;

                                                7
         Case 2:22-cv-00806-WSH Document 1-1 Filed 05/31/22 Page 11 of 33




               e.        Past and future pain, anxiety, mental anguish, embarrassment and
                         inconvenience;

               f.        Deprivation of her ability to enjoy the normal pleasures of life;

               g.        Increased complications and corrective procedures;

               h.        Disfigurement; and

               i.        Other losses and damages recoverable by law.

       WHEREFORE, Plaintiffs, Jennifer Gillespie and Brian Gillespie, demand judgment

against Defendant, Sofregen Medical, Inc., in an amount in excess of the compulsory arbitration

limits of Allegheny County, Pennsylvania, together with interest and costs of suit.

                                         COUNT II
                                     STRICT LIABILITY
                                PLAINTIFFS v. ALLERGAN, INC.

       36.     Plaintiffs incorporate by reference hereto the allegations set forth with paragraphs

1 through 35, inclusive, as though the same were set forth more fully herein at length.

       37.     At all times relevant hereto, Defendant Allergan designed, developed, tested,

assembled, manufactured, packaged, labeled, prepared for distribution, distributed, marketed,

supplied and/or sold the Seri Surgical Scaffold either directly and/or indirectly to healthcare

providers, hospitals, physicians and medical care recipients, including Plaintiff-Wife.

       38.     Defendant Allergan, directly and through its officers, directors and its agents,

ostensible agents, servants and/or employees, including Defendant Sofregen and Defendant

Abb vie, who were acting within the scope of their authority, servitude, workmanship and/or

employment described herein, is strictly liable and/or vicariously liable in some or all of the

following particulars:

               a.        The Seri Surgical Scaffold was defective in its design;

                                                   8
         Case 2:22-cv-00806-WSH Document 1-1 Filed 05/31/22 Page 12 of 33




               b.        The Seri Surgical Scaffold was defective in its construction and
                         manufacture;

               c.        The Seri Surgical Scaffold was not designed or constructed with the
                         proper material or in the proper manner for breast surgery
                         application;

               d.        The Seri Surgical Scaffold was not accompanied by adequate
                         warnings and instructions in regard to its application in breast
                         reconstruction procedures;

               e.        In failing to provide healthcare providers, including St. Clair
                         Hospital and Simona Pautler, M.D. with adequate instruction,
                         direction and/or warning regarding the use of the Seri Surgical
                         Scaffold in Plaintiff-Wife’s bilateral breast augmentation with
                         bilateral mastopexies surgery;

               f.        In failing to warn and/or adequately warn physicians and Plaintiff-
                         Wife of any and all dangers and risks involved with the use of the
                         Seri Surgical Scaffold; and

               g.        In failing to warn and/or adequately warn physicians and Plaintiff-
                         Wife that use of the Seri Surgical Scaffold in breast reconstruction
                         was an unintended and unapproved use of this device.

       39.     Defendant Allergan, directly and through its officers, directors and its agents,

ostensible agents, servants and/or employees, including Defendant Sofregen and Defendant

Abbvie, who were acting within the scope of their authority, servitude, workmanship and/or

employment described herein, is strictly liable and/or vicariously liable in some or all of the

following particulars:

               a.        That with respect to the Seri Surgical Scaffold Defendant Allergan
                         misrepresented material facts to the public, including    Plaintiff-
                         Wife, St. Clair Hospital and Dr. Pautler, the plastic surgeon,
                         concerning the character, quality and authorized/approved use of the
                         device;

               b.        That Plaintiff-Wife and Dr. Pautler, the implanting surgeon,
                         justifiably relied on such misrepresentations; and


                                                   9
        Case 2:22-cv-00806-WSH Document 1-1 Filed 05/31/22 Page 13 of 33




              c.     That such justified reliance caused Plaintiff-Wife to suffer physical
                     harm.

       40.    As a direct and proximate result of the conduct of Defendant Allergan, as set forth

more fully within this Complaint, Plaintiff-Wife sustained the following damages and injuries,

some of which may be permanent:

              a.      Seri Surgical Scaffold removal;

              b.     Breast implant removal with complete capsulectomy;

              c.     Infection from complete capsulectomy, which delayed healing process;

              d.     Breast implant illness;

              e.     Pain, discomfort and pulling sensation in her chest area;

              f.     Pain and pulling sensation in her ribs and clavicle;

              g.     Swollen lymph nodes in her right side;

              h.     Acne on her neck and face;

              i.     Hives;

              j.     Fatigue;

              k.     Malaise;

              l.      Severe scarring;

              m.      Occasional low grade fevers;

              n.      Traumatic neuroma;

              o.      Smoldering Myeloma; and

              p.      Anxiety and depression.

       41.    Asa result of her injuries, Plaintiff-Wife has suffered and will continue to suffer

some or all of the following damages:

                                                10
         Case 2:22-cv-00806-WSH Document 1-1 Filed 05/31/22 Page 14 of 33




               a.      Medical expenses for services and supplies incident to the treatment
                       of her injuries, both past and future;

               b.      Medical expenses for hospital admissions, surgeries, treatment and
                       therapies, both past and future;

               c.      Impairment of her general health, strength and vitality;

               d.      Past and future pain and suffering;

               e.      Past and future pain, anxiety, mental anguish, embarrassment and
                       inconvenience;

               f.      Deprivation of her ability to enjoy the normal pleasures of life;

               g.      Increased complications and corrective procedures;

               h.      Disfigurement; and

               i.      Other losses and damages recoverable by law.

       WHEREFORE, Plaintiffs, Jennifer Gillespie and Brian Gillespie, demand judgment

against Defendant, Allergan, Inc., in an amount in excess of the compulsory arbitration limits of

Allegheny County, Pennsylvania, together with interest and costs of suit.

                                       COUNT III
                                    STRICT LIABILITY
                                PLAINTIFFS v. ABBVIE, INC.

       42.     Plaintiffs incorporate by reference hereto the allegations set forth with paragraphs

1 through 41, inclusive, as though the same were set forth more fully herein at length.

       43.     At all times relevant hereto, Defendant Abbvie designed, developed, tested,

assembled, manufactured, packaged, labeled, prepared for distribution, distributed, marketed,

supplied and/or sold the Seri Surgical Scaffold either directly and/or indirectly to healthcare

providers, hospitals, physicians and medical care recipients, including Plaintiff-Wife.

       44.     Defendant Abbvie, directly and through its officers, directors and its agents,


                                                11
         Case 2:22-cv-00806-WSH Document 1-1 Filed 05/31/22 Page 15 of 33




ostensible agents, servants and/or employees, including Defendant Sofregen and Defendant

Allergan, who were acting within the scope of their authority, servitude, workmanship and/or

employment described herein, is strictly liable and/or vicariously liable in some or all of the

following particulars:

               a.        The Seri Surgical Scaffold was defective in its design;

               b.        The Seri Surgical Scaffold was defective in its construction and
                         manufacture;

               c.        The Seri Surgical Scaffold was not designed or constructed with the
                         proper material or in the proper manner for breast surgery
                         application;

               d.        The Seri Surgical Scaffold was not accompanied by adequate
                         warnings and instructions in regard to its application in breast
                         reconstruction procedures;

               e.        In failing to provide healthcare providers, including St. Clair
                         Hospital and Simona Pautler, M.D. with adequate instruction,
                         direction and/or warning regarding the use of the Seri Surgical
                         Scaffold in Plaintiff-Wife’s bilateral breast augmentation with
                         bilateral mastopexies surgery;

               f.        In failing to warn and/or adequately warn physicians and Plaintiff-
                         Wife of any and all dangers and risks involved with the use of the
                         Seri Surgical Scaffold; and

               g.        In failing to warn and/or adequately warn physicians and Plaintiff-
                         Wife that use of the Seri Surgical Scaffold in breast reconstruction
                         was an unintended and unapproved use of this device.

         45.   Defendant Abbvie, directly and through its officers, directors and its agents,

ostensible agents, servants and/or employees, including Defendant Sofregen and Defendant

Allergan, who were acting within the scope of their authority, servitude, workmanship and/or

employment described herein, is strictly liable and/or vicariously liable in some or all of the

following particulars:


                                                  12
        Case 2:22-cv-00806-WSH Document 1-1 Filed 05/31/22 Page 16 of 33




              a.      That with respect to the Seri Surgical Scaffold Defendant Abbvie
                      misrepresented material facts to the public, including    Plaintiff-
                      Wife, St. Clair Hospital and Dr. Pautler, the plastic surgeon,
                      concerning the character, quality and authorized/approved use of the
                      device;

              b.     That Plaintiff-Wife and Dr. Pautler, the implanting surgeon,
                     justifiably relied on such misrepresentations; and

              c.      That such justified reliance caused Plaintiff-Wife to suffer physical
                      harm.

       46.    As a direct and proximate result of the conduct of Defendant Abbvie, as set forth

more fully within this Complaint, Plaintiff-Wife sustained the following damages and injuries,

some of which may be permanent:

              a.      Seri Surgical Scaffold removal;

              b.     Breast implant removal with complete capsulectomy;

              c.     Infection from complete capsulectomy, which delayed healing process;

              d.     Breast implant illness;

              e.     Pain, discomfort and pulling sensation in her chest area;

              f.     Pain and pulling sensation in her ribs and clavicle;

              g.      Swollen lymph nodes in her right side;

              h.     Acne on her neck and      face;

              i.     Hives;

              j.     Fatigue;

              k.      Malaise;

              l.      Severe scarring;

              m.      Occasional low grade      fevers;

              n.      Traumatic neuroma;

                                               13
         Case 2:22-cv-00806-WSH Document 1-1 Filed 05/31/22 Page 17 of 33




               o.      Smoldering Myeloma; and

               p.      Anxiety and depression.

       47.     As a result of her injuries, Plaintiff-Wife has suffered and will continue to suffer

some or all of the following damages:

               a.      Medical expenses for services and supplies incident to the treatment
                       of her injuries, both past and future;

               b.     Medical expenses for hospital admissions, surgeries, treatment and
                      therapies, both past and future;

               c.     Impairment of her general health, strength and vitality;

               d.     Past and future pain and suffering;

               e.     Past and future pain, anxiety, mental anguish, embarrassment and
                      inconvenience;

               f.      Deprivation of her ability to enjoy the normal pleasures of life;

               g.     Increased complications and corrective procedures;

               h.     Disfigurement; and

               i.     Other losses and damages recoverable by law.

       WHEREFORE, Plaintiffs, Jennifer Gillespie and Brian Gillespie, demand judgment

against Defendant, Abbvie, Inc., in an amount in excess of the compulsory arbitration limits of

Allegheny County, Pennsylvania, together with interest and costs of suit.

                                       COUNT IV
                                  SUCCESSOR LIABILITY
                                PLAINTIFFS v. ABBVIE, INC.

       48.     Plaintiffs incorporate by reference hereto paragraphs 1 through 47, inclusive, as if

the same were set forth more fully herein at length.




                                                 14
         Case 2:22-cv-00806-WSH Document 1-1 Filed 05/31/22 Page 18 of 33




        49.     It is believed and therefore averred that Defendant Abbvie acquired all of the assets

and liabilities of Defendant Allergan in October 2019, including liability for those injuries

sustained by Plaintiff-Wife.

        50.     Alternatively, upon information and belief, the purchase by Defendant Abbvie of

the assets and liabilities of Defendant Allergan amounted to a consolidation or merger.

        51.     Upon information and belief, Defendant Abbvie was merely a continuation of the

selling entity, as there was an uninterrupted continuation of business.

        52.     Upon information and belief, immediately after the consolidation and/or merger,

Defendant Allergan ceased being and was replaced by Defendant Abbvie.

        53.     Upon information and belief, the sale of Defendant Allergan’s assets to Defendant

Abbvie was entered into without adequate provisions for the protection of creditors of Defendant

Allergan.

        54.     As such, Defendant Abbvie is the successor corporation of Defendant Allergan and

is jointly and severally liable to Plaintiffs under a theory of successor liability.

        WHEREFORE, Plaintiffs, Jennifer Gillespie and Brian Gillespie, demand judgment

against Defendant, Abbvie, Inc., in an amount in excess of the compulsory arbitration limits of

Allegheny County, Pennsylvania, together with interest and costs of suit.

                                       COUNT V
                                     NEGLIGENCE
                        PLAINTIFFS v. SOFREGEN MEDICAL, INC.

        55.     Plaintiffs incorporate by reference hereto the allegations set forth with paragraphs

1 through 54, inclusive, as though the same were set forth more fully herein at length.

        56.     At all times relevant hereto, Defendant Sofregen owed a duty to all consumers of

its medical devices, including Plaintiff-Wife, to appropriately, sufficiently, satisfactorily and


                                                   15
             Case 2:22-cv-00806-WSH Document 1-1 Filed 05/31/22 Page 19 of 33




reasonably design, develop, test, assemble, manufacture, package, label, provide necessary

warnings, prepare for distribution, distribute, market, supply and sell the Seri Surgical Scaffold.

        57.      Defendant Sofregen, directly and through its officers, directors and its agents,

ostensible agents, servants and/or employees, including Defendant Allergen and Defendant

Abbvie, who were acting within the scope of their authority, servitude, workmanship and/or

employment described herein, were negligent and careless in some or all of the following

particulars:

        a.       In negligently designing, manufacturing, assembling, inspecting, testing,
                 approving, distributing, selling, supplying, making available for sale and/or
                 making available for distribution, the Seri Surgical Scaffold as a device to
                 be used for breast reconstruction procedures when it knew or should have
                 known that it was not intended and/or approved for such use;

        b.       In negligently failing to warn physicians and Plaintiff-Wife of any and all
                 dangers associates with using the Seri Surgical Scaffold in breast
                 reconstruction procedures;

        c.       In negligently failing to provide healthcare providers, including St. Clair
                 Hospital and Simona Pautler, M.D. with adequate instruction, direction
                 and/or warning regarding the use of the Seri Surgical Scaffold in Plaintiff-
                 Wife’s bilateral breast augmentation with bilateral mastopexies surgery;

        d.       In negligently supplying the Seri Surgical Scaffold to healthcare facilities,
                 doctors and Plaintiff-Wife when it knew or should have known that the
                 device was not approved for use in breast reconstruction procedures;

        e.       In negligently marketing, distributing, selling and/or supplying the Seri
                 Surgical Scaffold as a device to be used for breast reconstruction procedures
                 when it knew or should have known that it was not cleared and/or approved
                 for such use;

        f.       In negligently offering for sale the Seri Surgical Scaffold as a device to be
                 used for breast reconstruction procedures when it knew or should have
                 known that it was not intended and/or approved for such use;

        h.       In continuing to offer for sale the Seri Surgical Scaffold as a device to be
                 used for breast reconstruction procedures when it knew or should have
                 known that it was not intended and/or approved for such use; and


                                                  16
            Case 2:22-cv-00806-WSH Document 1-1 Filed 05/31/22 Page 20 of 33




       i.       In failing to advise Plaintiff-Wife of the May 29, 2015, FDA recall as to
                allow Plaintiff-Wife to timely discover the unauthorized usage and take
                appropriate steps to manage and protect her health.

       58.      Asa direct and proximate result of the conduct of Defendant Sofregen, as set forth

more fully within this Complaint, Plaintiff-Wife sustained the following damages and injuries,

some of which may be permanent:

                a.     Seri Surgical Scaffold removal;

                b.     Breast implant removal with complete capsulectomy;

                c.     Infection from complete capsulectomy, which delayed healing process;

                d.     Breast implant illness;

                e.     Pain, discomfort and pulling sensation in her chest area;

                f.     Pain and pulling sensation in her ribs and clavicle;

                g.     Swollen lymph nodes in her right side;

                h.     Acne on her neck and face;

                i.     Hives;

                j.     Fatigue;

                k.     Malaise;

                l.     Severe scarring;

                m.     Occasional low grade fevers;

                n.     Traumatic neuroma;

                o.     Smoldering Myeloma; and

                p.     Anxiety and depression.

       59.      As a result of her injuries, Plaintiff-Wife has suffered and will continue to suffer



                                                 17
         Case 2:22-cv-00806-WSH Document 1-1 Filed 05/31/22 Page 21 of 33




some or all of the following damages:

               a.      Medical expenses for services and supplies incident to the treatment
                       of her injuries, both past and future;

               b.      Medical expenses for hospital admissions, surgeries, treatment and
                       therapies, both past and future;

               c.      Impairment of her general health, strength and vitality;

               d.      Past and future pain and suffering;

               e.      Past and future pain, anxiety, mental anguish, embarrassment and
                       inconvenience;

               f.      Deprivation of her ability to enjoy the normal pleasures of life;

               g.      Increased complications and corrective procedures;

               h.      Disfigurement; and

               i.      Other losses and damages recoverable by law.

       WHEREFORE, Plaintiffs, Jennifer Gillespie and Brian Gillespie, demand judgment

against Defendant, Sofregen Medical, Inc., in an amount in excess of the compulsory arbitration

limits of Allegheny County, Pennsylvania, together with interest and costs of suit.

                                       COUNT VI
                                     NEGLIGENCE
                              PLAINTIFFS v. ALLERGAN, INC.

       60.     Plaintiffs incorporate by reference hereto the allegations set forth with paragraphs

1 through 59, inclusive, as though the same were set forth more fully herein at length.

       61.     At all times relevant hereto, Defendant Allergan owed a duty to all consumers of

its medical devices, including Plaintiff-Wife, to appropriately, sufficiently, satisfactorily and

reasonably design, develop, test, assemble, manufacture, package, label, provide necessary

warnings, prepare for distribution, distribute, market, supply and sell the Seri Surgical Scaffold.

        62.    Defendant Stryker Sales, directly and through its officers, directors and its agents,

                                                 18
             Case 2:22-cv-00806-WSH Document 1-1 Filed 05/31/22 Page 22 of 33




ostensible agents, servants and/or employees, including Defendant Sofregen and Defendant

Abbvie, who were acting within the scope of their authority, servitude, workmanship and/or

employment described herein, were negligent and careless in some or all of the following

particulars:

        a.       In negligently designing, manufacturing, assembling, inspecting, testing,
                 approving, distributing, selling, supplying, making available for sale and/or
                 making available for distribution, the Seri Surgical Scaffold as a device to
                 be used for breast reconstruction procedures when it knew or should have
                 known that it was not intended and/or approved for such use;

        b.       In negligently failing to warn physicians and Plaintiff-Wife of any and all
                 dangers associates with using the Seri Surgical Scaffold in breast
                 reconstruction procedures;

        c.       In negligently failing to provide healthcare providers, including St. Clair
                 Hospital and Simona Pautler, M.D. with adequate instruction, direction
                 and/or warning regarding the use of the Seri Surgical Scaffold in Plaintiff-
                 Wife’s bilateral breast augmentation with bilateral mastopexies surgery;


        d.       In negligently supplying the Seri Surgical Scaffold to healthcare facilities,
                 doctors and Plaintiff-Wife when it knew or should have known that the
                 device was not approved for use in breast reconstruction procedures;

        e.       In negligently marketing, distributing, selling and/or supplying the Seri
                 Surgical Scaffold as a device to be used for breast reconstruction procedures
                 when it knew or should have known that it was not cleared and/or approved
                 for such use;

        f.       In negligently offering for sale the Seri Surgical Scaffold as a device to be
                 used for breast reconstruction procedures when it knew or should have
                 known that it was not intended and/or approved for such use;


        g.       In continuing to offer for sale the Seri Surgical Scaffold as a device to be
                 used for breast reconstruction procedures when it knew or should have
                 known that it was not intended and/or approved for such use; and


        h.       In failing to advise Plaintiff-Wife of the May 29, 2015 FDA recall as to
                 allow Plaintiff-Wife to timely discover the unauthorized usage and take
                 appropriate steps to manage and protect her health.


                                                  19
        Case 2:22-cv-00806-WSH Document 1-1 Filed 05/31/22 Page 23 of 33




       63.    Asa direct and proximate result of the conduct of Defendant Allergan, as set forth

more fully within this Complaint, Plaintiff-Wife sustained the following damages and injuries,

some of which may be permanent:

              a.      Seri Surgical Scaffold removal;

              b.      Breast implant removal with complete capsulectomy;

              c.     Infection from complete capsulectomy, which delayed healing process;

              d.     Breast implant illness;

              e.     Pain, discomfort and pulling sensation in her chest area;

              f.     Pain and pulling sensation in her ribs and clavicle;

              g.      Swollen lymph nodes in her right side;

              h.     Acne on her neck and face;

              i.     Hives;

              j.     Fatigue;

              k.     Malaise;

              l.      Severe scarring;

              m.      Occasional low grade fevers;

              n.     Traumatic neuroma;

              o.      Smoldering Myeloma; and

              p.     Anxiety and depression.

       64.    As a result of her injuries, Plaintiff-Wife has suffered and will continue to suffer

some or all of the following damages:

              a.      Medical expenses for services and supplies incident to the treatment
                      of her injuries, both past and future;

                                               20
         Case 2:22-cv-00806-WSH Document 1-1 Filed 05/31/22 Page 24 of 33




               b.      Medical expenses for hospital admissions, surgeries, treatment and
                       therapies, both past and future;

               c.      Impairment of her general health, strength and vitality;

               d.      Past and future pain and suffering;

               e.      Past and future pain, anxiety, mental anguish, embarrassment and
                       inconvenience;

               f.       Deprivation of her ability to enjoy the normal pleasures of life;

               g.      Increased complications and corrective procedures;

               h.      Disfigurement; and

               i.      Other losses and damages recoverable by law.

       WHEREFORE, Plaintiffs, Jennifer Gillespie and Brian Gillespie, demand judgment

against Defendant, Allergan, Inc., in an amount in excess of the compulsory arbitration limits of

Allegheny County, Pennsylvania, together with interest and costs of suit.

                                       COUNT VII
                                     NEGLIGENCE
                                PLAINTIFFS v. ABBVIE, INC.

       65.     Plaintiffs incorporate by reference hereto the allegations set forth with paragraphs

1 through 64, inclusive, as though the same were set forth more fully herein at length.

       66.     At all times relevant hereto, Defendant Abbvie owed a duty to all consumers of its

medical devices, including Plaintiff-Wife, to appropriately, sufficiently, satisfactorily and

reasonably design, develop, test, assemble, manufacture, package, label, provide necessary

warnings, prepare for distribution, distribute, market, supply and sell the Seri Surgical Scaffold.

        67.    Defendant Abbvie, directly and through its officers, directors and its agents,

ostensible agents, servants and/or employees, including Defendant Sofregen and Defendant

Allergan, who were acting within the scope of their authority, servitude, workmanship and/or

                                                 21
         Case 2:22-cv-00806-WSH Document 1-1 Filed 05/31/22 Page 25 of 33




employment described herein, were negligent and careless in some or all of the following

particulars:

        a.     In negligently designing, manufacturing, assembling, inspecting, testing,
               approving, distributing, selling, supplying, making available for sale and/or
               making available for distribution, the Seri Surgical Scaffold as a device to
               be used for breast reconstruction procedures when it knew or should have
               known that it was not intended and/or approved for such use;

        b.     In negligently failing to warn physicians and Plaintiff-Wife of any and all
               dangers associates with using the Seri Surgical Scaffold in breast
               reconstruction procedures;

        c.     In negligently failing to provide healthcare providers, including St. Clair
               Hospital and Simona Pautler, M.D. with adequate instruction, direction
               and/or warning regarding the use of the Seri Surgical Scaffold in Plaintiff-
               Wife’s bilateral breast augmentation with bilateral mastopexies surgery;

        d.     In negligently supplying the Seri Surgical Scaffold to healthcare facilities,
               doctors and Plaintiff-Wife when it knew or should have known that the
               device was not approved for use in breast reconstruction procedures;

        e.     In negligently marketing, distributing, selling and/or supplying the Seri
               Surgical Scaffold as a device to be used for breast reconstruction procedures
               when it knew or should have known that it was not cleared and/or approved
               for such use;

        f.     In negligently offering for sale the Seri Surgical Scaffold as a device to be
               used for breast reconstruction procedures when it knew or should have
               known that it was not intended and/or approved for such use;

        g.     In continuing to offer for sale the Seri Surgical Scaffold as a device to be
               used for breast reconstruction procedures when it knew or should have
               known that it was not intended and/or approved for such use; and

        h.     In failing to advise Plaintiff-Wife of the May 29, 2015 FDA recall as to
               allow Plaintiff-Wife to timely discover the unauthorized usage and take
               appropriate steps to manage and protect her health.

        68.    As a direct and proximate result of the conduct of Defendant Howmedica, as set

forth more fully within this Complaint, Plaintiff-Wife sustained the following damages and

injuries, some of which may be permanent:


                                                22
        Case 2:22-cv-00806-WSH Document 1-1 Filed 05/31/22 Page 26 of 33




              a.      Seri Surgical Scaffold removal;

              b.      Breast implant removal with complete capsulectomy;

              c.      Infection from complete capsulectomy, which delayed healing process;

              d.      Breast implant illness;

              e.      Pain, discomfort and pulling sensation in her chest area;

              f.      Pain and pulling sensation in her ribs and clavicle;

              g.      Swollen lymph nodes in her right side;

              h.     Acne on her neck and face;

              i.     Hives;

              j.     Fatigue;

              k.      Malaise;

              l.      Severe scarring;

              m.      Occasional low grade fevers;

              n.     Traumatic neuroma;

              o.      Smoldering Myeloma; and

              p.      Anxiety and depression.

       69.    As a result of her injuries, Plaintiff-Wife has suffered and will continue to suffer

some or all of the following damages:

              a.      Medical expenses for services and supplies incident to the treatment
                      of her injuries, both past and future;

              b.      Medical expenses for hospital admissions, surgeries, treatment and
                      therapies, both past and future;

              c.      Impairment of her general health, strength and vitality;

              d.      Past and future pain and suffering;
                                                23
         Case 2:22-cv-00806-WSH Document 1-1 Filed 05/31/22 Page 27 of 33




               e.      Past and future pain, anxiety, mental anguish, embarrassment and
                       inconvenience;

               f.       Deprivation of her ability to enjoy the normal pleasures of life;

               g.      Increased complications and corrective procedures;

               h.      Disfigurement; and

               i.      Other losses and damages recoverable by law.

       WHEREFORE, Plaintiffs, Jennifer Gillespie and Brian Gillespie, demand judgment

against Defendant, Abbvie, Inc., in an amount in excess of the compulsory arbitration limits of

Allegheny County, Pennsylvania, together with interest and costs of suit.

                                      COUNT IX
                               LOSS OF CONSORTIUM
                       PLAINTIFFS v. SOFREGEN MEDICAL, INC.

       70.     Plaintiffs incorporate by reference hereto the allegations set forth with paragraphs

1 through 69, inclusive, as though the same were set forth more fully herein at length.

       71.     At all times relevant hereto, Plaintiff-Wife was married to Plaintiff-Husband.

       72.     As a direct and proximate result of the aforementioned negligent and careless

conduct of Defendant Sofiregen, as set forth more fully within this Complaint, Plaintiff-Husband

has been, and will in the future be, deprived of the society, love, and affection of his wife, all of

which have and will in the future continue to cause him great financial damage and loss.

       WHEREFORE, Plaintiffs, Jennifer Gillespie and Brian Gillespie, demand judgment

against Defendant, Sofregen Medical, Inc., in an amount in excess of the compulsory arbitration

limits of Allegheny County, Pennsylvania, together with interest and costs of suit.

                             COUNT X-LOSS OF CONSORTIUM
                             PLAINTIFFS v. ALLERGAN, INC.

        73.    Plaintiffs incorporate by reference hereto the allegations set forth with paragraphs

                                                 24
         Case 2:22-cv-00806-WSH Document 1-1 Filed 05/31/22 Page 28 of 33




1 through 72, inclusive, as though the same were set forth more fully herein at length.

        74.     At all times relevant hereto, Plaintiff-Wife was married to Plaintiff-Husband.

        75.     As a direct and proximate result of the aforementioned negligent and careless

conduct of Defendant Allergan, as set forth more fully within this Complaint, Plaintiff-Husband

has been, and will in the future be, deprived of the society, love, and affection of his wife, all of

which have and will in the future continue to cause him great financial damage and loss.

        WHEREFORE, Plaintiffs, Jennifer Gillespie and Brian Gillespie, demand judgment

against Defendant, Allergan, Inc., in an amount in excess of the compulsory arbitration limits of

Allegheny County, Pennsylvania, together with interest and costs of suit.

                             COUNT XI-LOSS OF CONSORTIUM
                               PLAINTIFFS v. ABBVIE, INC.

        76.    Plaintiffs incorporate by reference hereto the allegations set forth with paragraphs

1 through 75, inclusive, as though the same were set forth more fully herein at length.

        77.    At all times relevant hereto, Plaintiff-Wife was married to Plaintiff-Husband.

        78.    As a direct and proximate result of the aforementioned negligent and careless

conduct of Defendant Abbvie, as set forth more fully within this Complaint, Plaintiff-Husband has

been, and will in the future be, deprived of the society, love, and affection of his wife, all of which

have and will in the future continue to cause him great financial damage and loss.

        WHEREFORE, Plaintiffs, Jennifer Gillespie and Brian Gillespie, demand judgment

against Defendant, Abbvie, Inc., in an amount in excess of the compulsory arbitration limits of

Allegheny County, Pennsylvania, together with interest and costs of suit.

JURY TRIAL DEMANDED




                                                  25
Case 2:22-cv-00806-WSH Document 1-1 Filed 05/31/22 Page 29 of 33




                                   Respectfully submitted,

                                   McKENNA & ASSOCIATES, P.C.



                            BY:
                                   MARK F. McKENNA, ESQUIRE
                                   Attorneys for Plaintiffs, Jennifer Gillespie
                                   and Brian Gillespie




                              26
     Case 2:22-cv-00806-WSH Document 1-1 Filed 05/31/22 Page 30 of 33




                                  VERIFICATION


        I am the Plaintiff in this matter and am represented by counsel. I have
furnished information upon which the foregoing Complaint in Civil Action is
based. To the extent that the forgoing is based on the factual information provided
to counsel, I verify that those facts are true and correct to the best of my
knowledge, information and belief. However, the language is that of counsel and,
to the extent that it goes beyond the factual information that I have provided to
counsel, I have relied upon counsel in making this verification.
        I understand that false statements herein are made subject to the penalties
relating to unsworn falsification to authorities.




Date:       £/■£ r/   z"L
                                                    Jennifer Gillespie
    Case 2:22-cv-00806-WSH Document 1-1 Filed 05/31/22 Page 31 of 33




                                  VERIFICATION


        I am the Plaintiff in this matter and am represented by counsel. I have
furnished information upon which the foregoing Complaint in Civil Action is
based. To the extent that the forgoing is based on the factual information provided
to counsel, I verify that those facts are true and correct to the best of my
knowledge, information and belief. However, the language is that of counsel and,
to the extent that it goes beyond the factual information that I have provided to
counsel, I have relied upon counsel in making this verification.
        I understand that false statements herein are made subject to the penalties
relating to unsworn falsification to authorities.




Date:     H'Z-b
                                                    Brian Gillespie
         Case 2:22-cv-00806-WSH Document 1-1 Filed 05/31/22 Page 32 of 33




                           CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the forgoing Complaint in Civil Action was
forwarded via electronic mail and U.S. First Class mail to the following this £ ^/day of May


2022:

                                  Andrew F. Susko, Esquire
                                   Joshua E. Gajer, Esquire
                                      1650 Market Street
                               One Liberty Place, Suite 1800
                                Philadelphia, PA 19103-7395
                       Attorneys for Defendant, Sofregen Medical, Inc.

                                        Allergan, Inc.
                                     2525 Dupont Drive
                                      Irvine, CA 92612

                                        Abbvie, Inc.
                                   1 N. Waukegan Road
                                  North Chicago, IL 60045




                                          BY:            z
                                                  MARK F. McKENNA, ESQUIRE
                                                  Attorneys for Plaintiffs, Jennifer Gillespie
                                                  and Brian Gillespie
            Case 2:22-cv-00806-WSH Document 1-1 Filed 05/31/22 Page 33 of 33




                                   CERTIFICATE OF COMPLIANCE


           I certify that this filing complies with the provisions of the Public Access Policy of the
    Unified Judicial System ofPennsylvania: Case Records of the Appellate and Trial Courts that
   require filing confidential information and documents differently than non-confidential
   information and documents.

                                                          /


                                                       Submitted W:       F„ McKenna.,-Enquire
                                                       S ignaturoA-'-—_,/K—'
                                                               '       7      '
                                                       Name: Mark F. McKenna

                                                       Attorney No. (if applicable): 30297




Rev. 09/2017
